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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                            UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHWESTERN DIVISION

GEORGE WEST, INDIVIDUALLY, AND ON                    )
BEHALF OF CLASSES OF SIMILARLY                       )
SITUATED PERSONS; WESTMED DISPOSAL,                  )
INC., INDIVIDUALLY, AND ON BEHALF OF                 )
CLASSES OF SIMILARLY SITUATED                        )
PERSONS,                                             )
                                                     )       Civil Action No.: _______________
       Plaintiffs,                                   )
                                                     )
v.                                                   )
                                                     )
INTEL CORPORATION,                                   )
                                                     )
       Defendant.                                    )


                     INDIVIDUAL AND CLASS ACTION COMPLAINT
                           AND DEMAND FOR JURY TRIAL

                                     I.      INTRODUCTION

       1.       Intel Corporation (“Intel”) is the top-selling semiconductor company in the world

and manufactures central processing units (“CPUs”) utilized by the most popular personal

computers (“PCs”), servers, and electronic devices sold on the market.

       2.       Much of Intel’s success is attributable to producing some of the fastest operating

CPUs available. On its products’ packaging, Intel advertises the speed and high performance

offered by its CPUs.

       3.       But to achieve high speed and performance, Intel took shortcuts with its CPUs,

which left vulnerabilities open to hackers and malicious software. These vulnerabilities exposed

Intel customers to critical security threats and placed customers’ sensitive, private, and otherwise

secure information in jeopardy. The exposure to these vulnerabilities is so far-reaching that it

affects every PC containing an Intel processor manufactured since 1995.
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        4.       The computer industry labels these security flaws as “Meltdown” and “Spectre,”

which take advantage of the CPU process called speculative execution. Because the security flaws

cannot be fixed at the hardware level, operating system designers, such as Apple and Microsoft,

are forced to develop software patches to close the exposure. These software patches, however,

degrade CPU performance as much as 30%. Thus, PC owners with an Intel CPU are left with the

unappealing choice of (a) purchasing a new CPU or PC containing a non-defective CPU; (b)

continuing to use a vulnerable PC without up-to-date software, or (c) continuing to use a PC with

updated software but degraded performance.

        5.       PCs that do not utilize Intel processors are not affected by Meltdown. Likewise,

PCs that do not use Intel processors are not susceptible to—or are substantially less susceptible

to—Spectre. Thus, Intel’s representations that its CPUs are some of the fastest available on the

market are demonstrably false because the very feature that gave the CPUs their speed caused

serious security vulnerabilities that must be fixed—thereby actually degrading performance.

                                        II.     PARTIES

A.      Plaintiffs

        6.       George West is a citizen and resident of the State of Alabama and purchased a PC

containing an Intel processor in 2017. Mr. West used his PC primarily for personal use. Prior to

his purchase, Mr. West was unaware of the security defect described herein. Had Intel disclosed

that its CPU had a critical security flaw that would need to be patched, and thus substantially slow

his PC, Mr. West would not have purchased the PC with an Intel processor or would have paid

substantially less for it.

        7.       WestMed Disposal, Inc. (“WestMed”) is a business incorporated and existing under

the laws of the State of Alabama, with its principal place of business in Woodstock, Alabama.

WestMed purchased five PCs containing Intel processors in 2017. WestMed utilized the PCs for
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business purposes and was unaware of the security defect described herein when it purchased the

PCs. Had Intel disclosed that its CPU had a critical security flaw that would need to be patched,

and thus substantially slow the PCs, WestMed would not have purchased the PCs with an Intel

processor or would have paid substantially less for them.

B.      Defendant

        8.       Intel Corporation is a business incorporated and existing under the laws of the State

of Delaware, with its principal place of business in Santa Clara, California. Intel is, and at all

relevant times was, engaged in the business of designing, manufacturing, distributing, and selling

computer products, including processors and the defective CPUs that are at issue in this Complaint.

                              III.     JURISDICTION AND VENUE

        9.       This Court has original jurisdiction pursuant to the Class Action Fairness Act of

2005, 28 U.S.C. § 1332(d). The amount in controversy exceeds the sum or value of $5,000,000,

exclusive of interest and costs, and there is minimal diversity because named Plaintiffs and certain

Members of the Classes are citizens of a different state than Defendant, as required by 28 U.S.C.

§ 1332(d)(2).

        10.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) because

a substantial part of the events and omissions giving rise to Plaintiffs’ claims occurred in this

District.

                                 IV.    STATEMENT OF FACTS

        11.      Microprocessors, also known as central processing units or CPUs, are small chips

that reside in PCs and other electronic devices. The CPU processes information stored in the

computer and executes system instructions, such as making mathematical calculations, processing

mouse and keyboard inputs, and running applications.
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        12.      While performing its functions, the CPU must access and interact with the

computer’s memory. Memory contains items such as program content, operating system data, and

user data.

        13.      CPUs operate faster than memory, making the process of retrieving items from

memory relatively slow. To expedite this process, Intel CPUs “cache” a small amount of temporary

memory for quicker access. Using the memory cache, Intel CPUs implement a process known as

speculative execution, where the CPU will “guess” the instruction it will receive from memory to

get a head-start at execution. If the CPU guesses correctly, then the next set of instructions are

ready with no delay. If it guesses incorrectly, the CPU simply discards the result into the cache

and executes the correct instructions instead.

        14.      The problem with Intel’s speculative execution process is that it fails to assess

whether the memory accessed from the cache is privileged—i.e., inaccessible. Instead, Intel CPUs

begin running the speculative instructions without a privilege check until the time comes to decide

whether the speculative execution should be continued. During this window of time, hackers and

malicious software can manipulate this vulnerability in Intel’s speculative execution process to

access parts of the computer’s high-privilege memory, including sensitive, private, and otherwise

secure information. Indeed, online resources have demonstrated that Meltdown could allow

hackers to steal passwords in real time. 1




1
  Cade Metz and Nicole Perlroth, Researchers Discover Two Major Flaws in the World’s Computers, N.Y. TIMES
(Jan. 3, 2018), available at https://www.nytimes.com/2018/01/03/business/computer-flaws.html (last visited Feb. 6,
2018).
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        15.      To fix the vulnerability, PC operating systems must be “patched” with software

updates. The software patches, however, result in a substantial degradation of computer

performance, estimated by some to be up to 30%. 2

        16.      Rather than inform consumers about the critical security flaws in its CPUs, Intel

continued to sell CPUs at a price much higher than consumers would have paid had they known

about the flaws. Further, Intel continued to tout the performance of its CPUs, even though the

CPUs achieved high performance through the very design flaw that ultimately degrades the CPUs’

performance due to necessary software updates.

        17.      Worse still, rather than inform consumers about the critical security flaw, Intel’s

Chief Executive Officer Brian Krzanich sold the maximum Intel stock permitted under corporate

bylaws after learning of the flaw, retaining only the minimum allowed under Intel’s ownership

requirements. 3 As a result, Krzanich received over $39 million before the flaw became public. 4

        18.      Had Plaintiffs and other consumers and businesses known of the security flaw, or

the software patches necessary to protect their sensitive, private, and otherwise secure data, they

would not have bought Intel CPUs, or would have paid substantially less for them.




2
  John Leyden and Chris Williams, Kernel-memory-leaking Intel processor design flaw forces Linux, Windows
redesign, THE REGISTER (Jan. 2, 2018), available at https://www.theregister.co.uk/2018/01/02/intel_cpu_design_flaw
(last visited Feb. 6, 2018).
3
  Alicia Ritcey, Intel CEO’s Stock Sales May Warrant SEC Examination, BLOOMBERG TECHNOLOGY (Jan. 8, 2018),
available       at      https://www.bloomberg.com/news/articles/2018-01-08/intel-ceo-krzanich-s-stock-sales-seen-
warranting-sec-examination (last visited Feb. 6, 2018); Sean Gallagher, Intel CEO sold all the stock he could after
Intel learned of security bug, ARSTECHNICA (Jan. 4, 2017), available at https://arstechnica.com/information-
technology/2018/01/intel-ceos-sale-of-stock-just-before-security-bug-reveal-raises-questions (last visited Feb. 6,
2018).
4
  Sean Gallagher, Intel CEO sold all the stock he could after Intel learned of security bug, ARSTECHNICA (Jan. 4,
2017), available at https://arstechnica.com/information-technology/2018/01/intel-ceos-sale-of-stock-just-before-
security-bug-reveal-raises-questions (last visited Feb. 6, 2018).
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        19.        Plaintiffs and Members of the Classes purchased and used Intel’s CPUs. Intel’s

scheme has caused Plaintiffs and Members of the Classes to lose money and property by being

overcharged for and paying for the defective CPUs at issue, and/or being required to purchase an

additional working CPU. These losses occurred at the point of sale and continued thereafter and

were the direct result of Intel’s misconduct, including the deceptive and unfair acts asserted herein.

              V.      TOLLING OF APPLICABLE STATUTES OF LIMITATIONS

        20.        Discovery Rule Tolling. Neither Plaintiffs nor Members of the Classes could have

discovered through the exercise of reasonable diligence that their CPUs suffered from a critical

security flaw within the time period of any applicable statutes of limitation.

        21.        Fraudulent Concealment Tolling. Throughout the relevant time period, Intel

concealed from and failed to disclose to Plaintiffs and Members of the Classes vital information

concerning the security flaw described herein. Intel knew or otherwise should have known of the

security flaw well before its discovery by a third-party.

        22.        Intel kept Plaintiffs and other Members of the Classes ignorant of information

essential to the pursuit of their claims. As a result, neither Plaintiffs nor the other Members of the

Classes could have discovered the security flaw, even upon reasonable exercise of diligence.

        23.        Despite its knowledge of the security flaw (and the need to develop a patch that

significantly degrades performance), Intel failed to disclose and concealed, and continues to

conceal, this critical information from Plaintiffs and other Members of the Classes, even though it

could have done so through individual correspondence, media release, or by other means, at any

time.

        24.        Plaintiffs and the other Members of the Classes justifiably relied on Intel to disclose

the security defect in the CPUs that they purchased or leased because that defect was hidden and

not discoverable through reasonable efforts by Plaintiffs and the other Members of the Classes.
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       25.      Thus, the running of the applicable statutes of limitations has been suspended with

respect to any claims that Plaintiffs and other Members of the Classes have sustained as a result of

the security defect by virtue of the fraudulent concealment doctrine.

       26.      Estoppel. Intel was under a continuing duty to disclose to Plaintiffs and other

Members of the Classes the true character, quality, and nature of the defective CPUs, but concealed

the true nature, quality, and character of the defective CPUs.

       27.      Based on the foregoing, Intel is estopped from relying on any statutes of limitations

in defense of this action.

                                 VI.     CLASS ALLEGATIONS

       28.      Plaintiffs George West and WestMed, individually, and for the Classes defined

herein, incorporate by reference all preceding paragraphs as though fully set forth herein.

       29.      Plaintiffs bring this case individually, and as a class action pursuant to FED. R. CIV.

P. 23, on behalf of all Alabama consumers and businesses that have incurred economic, monetary,

or statutory damages as a result of Intel’s sale and distribution of defective CPUs.

       30.      Plaintiff George West seeks to represent the following Class:

       Alabama Consumer Class
       All persons in Alabama who purchased one or more Intel CPUs either from Intel
       or its authorized retail sellers.

       31.      Plaintiff WestMed seeks to represent the following Class:

       Alabama Business Class
       All businesses in Alabama that purchased one or more Intel CPUs either from Intel
       or its authorized retail sellers.

       Excluded from these Classes are the following:

       a.       Any and all federal, state, or local governments, including but not limited to their
                department, agencies, divisions, bureaus, boards, sections, groups, counsels, and/or
                subdivisions;
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       b.       individuals, if any, who timely opt out of this proceeding using the correct protocol
                for opting out;

       c.       current or former Intel employees;

       d.       individuals, if any, who have previously settled or compromised claim(s); and

       e.       any currently sitting federal judge and/or person within the third degree of
                consanguinity to any federal judge.

       32.      Plaintiff George West seeks to recover damages on a Class-wide basis for himself

and the Alabama Consumer Class Members.

       33.      Plaintiff WestMed seeks to recover damages on a Class-wide basis for itself and

the Alabama Business Class Members.

       34.      Plaintiffs may properly maintain this action as a class action for the following

reasons:

       35.      Numerosity: Members of the Classes are so numerous that individual joinder is

impracticable. The proposed Classes contain hundreds if not thousands of members. The Classes

are therefore sufficiently numerous to make joinder impracticable, if not impossible.

       36.      Common Questions of Fact and Law Exist: Common questions of fact and law

exist as to all Members of the Classes, including whether Intel CPUs have the security defect

discussed herein and the nature of the defect; whether Intel made any implied warranties in

connection with the sale of the defective CPUs; whether Intel breached any implied warranties

relating to its sale of defective CPUs by failing to resolve the security defect in the manner required

by law; whether Intel violated applicable consumer protection laws by selling CPUs with the

security defect, by failing to disclose the defect, and failing to provide the relief required by law;

and the appropriate nature and measure of Class-wide relief.

      37.       Typicality:    Plaintiffs’ claims are typical of the claims of Members of the

Classes. The injuries sustained by Plaintiffs and the Classes flow, in each instance, from a common
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nucleus of operative facts based on Intel’s uniform conduct as set forth above. The defenses, if

any, that will be asserted against Plaintiffs’ claims will be similar to the defenses that will be

asserted, if any, against the claims of Members of the Classes.

       38.     Adequacy:      Plaintiffs are adequate representatives of the Classes because their

interests do not conflict with the interests of the Classes—all seek redress for the same unlawful

conduct by Intel. Plaintiffs’ retained Counsel are competent and highly experienced in complex

class action litigation, and they intend to prosecute this action vigorously. The interests of the

Classes will be fairly and adequately protected by Plaintiffs and their Counsel. Plaintiffs’ claims,

like those of the Classes, are antagonistic to Defendant.

       39.     Predominance:      Common questions of fact and law predominate over any

questions affecting individual Members of the Classes.

       40.     Superiority: A class action is superior to other available means of fair and

efficient adjudication. The injury suffered by each individual Member of the Classes is relatively

small in comparison to the burden and expense of individual prosecution of the complex and

extensive litigation necessitated by Defendant’s conduct. Moreover, individual joinder of all

Members of the Classes is impracticable, if not impossible, because many Members of the Classes

are located throughout the United States. It would be virtually impossible for all Members of the

Classes to effectively redress these wrongs on an individual basis. Therefore, a class action is the

only reasonable means by which Plaintiffs and the Classes may pursue their claims. Moreover,

even if the Members of the Classes could afford such individual litigation, the court system could

not. Individualized litigation of complex legal and factual issues of this case increases the delay

and expense to all parties, and to the court system. By contrast, a class action alleviates
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management difficulties and provides the benefits of single adjudication, economies of scale, and

comprehensive supervision by a single court.

                                 VII.    CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION
                                  Breach of Implied Warranty
                                         (All Classes)

       41.     Plaintiffs individually, and for the Classes, incorporate by reference all preceding

paragraphs as though fully set forth herein.

       42.     Intel and its authorized agents and resellers sold Intel CPUs to Plaintiffs and

Members of the Classes in the regular course of business.

       43.     Intel impliedly warranted to members of the general public, including Plaintiffs and

Members of the Classes, that its CPUs were of merchantable quality (i.e., a product of a high

enough quality to make it fit for sale, usable for the purpose it is made, of average worth in the

marketplace, or not broken, unworkable, damaged, contaminated, or flawed), were of the same

quality as those generally acceptable in the trade or that would pass without objection in the trade,

were free from material defects, and were reasonably fit for the ordinary purposes for which they

were intended or used. In addition, Intel either was or should have been aware of the particular

purposes for which such CPUs are used, and that Plaintiffs and the Members of the Classes were

relying on Intel’s skill and judgment to furnish suitable goods for such purpose.

       44.     Pursuant to agreements between Intel and its authorized agents and resellers, the

stores from which Plaintiffs and Members of the Classes purchased their defective Intel CPUs are

authorized retailers. Plaintiffs and Members of the Classes are third-party beneficiaries of, and

substantially benefitted from, such contracts.

       45.     Intel breached its implied warranties by selling Plaintiffs and Members of the

Classes defective CPUs. The defect renders the Intel CPUs unmerchantable and unfit for their
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ordinary purpose or use. Intel has refused to recall, repair, or replace, free of charge, its CPUs or

any of their defective component parts or refund the prices paid for such CPUs.

       46.     The defect in the Intel CPUs existed when the CPUs left Intel’s and its authorized

agents’ and retail sellers’ possession and, thus, is inherent in such CPUs.

       47.     As a direct and proximate result of Intel’s breach of its implied warranties, Plaintiffs

and Members of the Classes have suffered damages and continue to suffer damages, including

economic damages at the point of sale in terms of the difference between the value of the CPUs as

warranted and the value of the CPUs as delivered. Additionally, Plaintiffs and Members of the

Classes have incurred, or will incur, economic, incidental, and consequential damages, including

the cost of repair or replacement, costs of complying with continued contractual obligations, and

the cost of buying an additional CPU they would not have purchased had the Intel CPUs not

contained the defect.

       48.     Plaintiffs and Members of the Classes are entitled to legal and equitable relief

against Intel, including damages, specific performance, rescission, attorneys’ fees, costs of suit,

and other relief as appropriate.

                             SECOND CAUSE OF ACTION
    Violations of the Alabama Deceptive Trade Practices Act, Ala. Code § 8-19-1, et seq.
                               (Alabama Consumer Class)

       49.     Plaintiff George West, individually and for the Alabama Consumer Class Members,

hereby incorporate each and every allegation as though fully set forth herein.

       50.     Intel’s manufacture, sale, and distribution of defective CPUs, and Plaintiff’s and

Alabama Consumer Class Members’ purchase of the defective CPUs, constitutes a sale or

distribution of goods to a consumer within the meaning of the Alabama Deceptive Trade Practices

Act.
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          51.    Plaintiff and Alabama Consumer Class Members purchased Intel’s defective CPUs

for personal, family, or household use.

          52.    As described above, Intel knowingly committed the following unlawful and

deceptive acts or practices in the conduct of trade or commerce:

          a.     Represented that Intel CPUs have sponsorship, approval, characteristics,
                 ingredients, uses, benefits, or qualities that they do not have;

          b.     represented that Intel CPUs are of a particular standard, quality, or grade, or that
                 goods are of a particular style or model, if they are of another; and

          c.     engaged in any other unconscionable, false, misleading, or deceptive act or practice
                 in the conduct of trade or commerce.

          53.    By performing these unlawful acts, Intel caused monetary damage to Plaintiff and

Alabama Consumer Class Members.

          54.    Plaintiff, individually, and on behalf of Alabama Consumer Class Members,

requests the following relief:

          a.     Any actual damages sustained by Plaintiff and Alabama Consumer Class Members,
                 or the sum of $100, whichever is greater;

          b.     three times actual damages;

          c.     appropriate injunctive relief;

          d.     attorneys’ fees and costs; and

          e.     such other and further relief as the court deems proper.

                                  VIII. PRAYER FOR RELIEF

          Plaintiffs individually, and on behalf of the Classes identified herein, seek the following

relief:

          A.     An order certifying an Alabama Consumer Class, and appointing Plaintiff George

West and his Counsel to represent the Class;
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          B.     An order certifying an Alabama Business Class, and appointing Plaintiff WestMed

and its Counsel to represent the Class;

          C.     An order awarding Plaintiffs and the Classes all lawful damages, including

compensatory, consequential, statutory, and treble damages, as to the appropriate causes of action;

          D.     An order enjoining Intel from continuing to engage in business acts and practices

that are unlawful, unfair, deceptive, or contrary to its agreements and warranties, as alleged herein;

          E.     An order awarding Plaintiffs and the Classes pre-judgment and post-judgment

interest, as well as reasonable attorneys’ fees and expert witness fees and other costs as may be

applicable; and

          F.     An order awarding such other and further relief as this Court may deem just and

proper.

                                       IX.     JURY DEMAND

          Plaintiffs demand a trial of all claims by a struck jury.


          Respectfully submitted this 6th day of March 2018.


                                         /s/ Ryan Lutz
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